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                                 123268



                      IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND
PRODUCTS LIABILITY LITIGATION                              Civil No. 1:14-ml-2570-RLY-TAB
                                                                              MDL No. 2570
THIS DOCUMENT RELATES TO:

Sharon D. Hill. v. Cook Medical, LLC. et al;
1:16-cv-0830



               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
                            PURSUANT TO CMO 28

       COMES NOW, Plaintiff Sharon D. Hill, by and through the undersigned counsel, pursuant

to Case Management Order 28, “Screening for Time-Barred Cases (“CMO 28”)”, and hereby

respectfully gives notice of voluntary dismissal with prejudice of the above-styled lawsuit as to

Defendants, Cook Incorporated, Cook Medical LLC and William Cook Europe ApS in Civil

Action No. 1: 16-cv0830. In accordance with CMO 28, each party will bear its own costs and

attorney’s fees.


Dated this 7th day of September, 2021                      Respectfully submitted,

                                                     /s/ George T. Williamson
                                                    George T. Williamson
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